    Case 1:24-cv-06711-NCM-JAM             Document 19        Filed 04/14/25      Page 1 of 2 PageID #: 37




                                           THE CITY OF NEW YORK
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                                                                                                          Senior Counsel

                                                                                            April 14, 2025
       BY ECF
       Honorable Joseph A. Marutollo
       United States Magistrate Judge
       United States District Court
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, NY 11201

                       Re:    Ricco D. Slade v. City of New York, et al.,
                              24-CV-6711 (NCM) (JAM)
       Your Honor:

                      I am a Senior Counsel in the Office of Muriel Goode-Trufant, Corporation Counsel
       of the City of New York, and write on behalf of the City as an interested party in the above-
       referenced matter. 1 I write in response to the Court's Valentin Order dated December 10, 2024
       (ECF No. 11) to complete the identification of the John Doe defendants in this action, and to
       confirm that the City now represents defendant Stephen Gassick in this matter, and to respectfully
       request an extension of time for Detective Gassick to respond to the Complaint. Due to plaintiff's
       incarcerated status, we were unable to obtain his position on this request. This is the first request
       for an extension of time for Detective Gassick to answer or otherwise respond to the complaint.

                        By way of background, Plaintiff brings claims under 42 U.S.C. § 1983 arising from,
       inter alia, his December 28, 2022 arrest by detectives from the 110th Precinct in Queens. By Order
       dated December 10, 2024, this Court directed the Corporation Counsel to identify two John Doe
       Detectives pursuant to Valentin v. Dinkins, 121 F.3d 72 (2d Cir. 1997). On February 13, 2025, this
       Office partially responded to the Valentin Order, identifying Detective Stephen Gassick as the
       primary detective who handled Plaintiff's arrest (ECF No. 15). In that filing, this Office reported
       that despite diligent investigation, we had been unable to identify the second John Doe detective,
       whose involvement with Plaintiff's arrest appears to have been minimal. The Court granted two



       1
        This case has been assigned to Assistant Corporation Counsel John McLaughlin, who is
       presently awaiting admission to the Eastern District of New York and is handling this matter
       under my supervision. Mr. McLaughlin may be reached directly at (212) 356-2670 or by email at
       jmclaugh@law.nyc.gov.
Case 1:24-cv-06711-NCM-JAM             Document 19       Filed 04/14/25     Page 2 of 2 PageID #: 38




  additional extensions of time to complete the Valentin response, with the current deadline set for
  April 14, 2025 (ECF Order dated March 12, 2025).

                 Following continued investigation and multiple discussions with Detective
  Gassick, this Office has now identified the second John Doe detective from Plaintiff’s complaint,
  as follows:

        •   Detective Julio Tejada, Shield No. 2074, Tax ID: 939563; Service Address: 1 Police Plaza,
            Room 110A, New York, NY 10038

                  With this submission, on information and belief, the City has now fully responded
  to the Court's Valentin Order by identifying both individuals who were previously designated as
  John Doe defendants. Furthermore, pursuant to the Court's Order dated March 12, 2025, this Office
  confirms that it will represent Detective Stephen Gassick in this action.

                 Although not yet reflected on the docket, this Office is aware that Detective Gassick
  has been served in this matter. Accordingly, we respectfully request that Detective Gassick be
  afforded an extension of time to respond to the Complaint to match that of Detective Tejada once
  he has been served.

                                                               Respectfully Submitted,

                                                               Joseph Zangrilli /s/

                                                               Joseph Zangrilli
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  Cc:       VIA FIRST CLASS MAIL
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